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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                      CRIMINAL NO. 1:16CR41-01
                                                   (Judge Keeley)

 WILLIAM BAGWELL,

                  Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 61),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On    October    11,     2016,    the    defendant,   William     Bagwell

 (“Bagwell”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 One of the Indictment. After Bagwell stated that he understood that

 the magistrate judge is not a United States District Judge, he

 consented to tendering his plea before the magistrate judge.

 Previously,    this   Court    had    referred   the   guilty   plea   to   the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

      Based upon Bagwell’s statements during the plea hearing and

 the testimony of Shawn Sweeney, Special Agent with the United

 States Food and Drug Administration, the magistrate judge found

 that Bagwell was competent to enter a plea, that the plea was
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 freely and voluntarily given, that he was aware of the nature of

 the charges against him and the consequences of his plea, and that

 a factual basis existed for the tendered plea. On October 11, 2016,

 the magistrate judge entered a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) (dkt. no. 61) finding a

 factual basis for the plea and recommending that this Court accept

 Bagwell’s plea of guilty to Count One of the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Bagwell’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count One of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The     Probation   Officer    shall   undertake       a presentence

 investigation of Bagwell, and prepare a presentence report for the

 Court;

       2.    The Government and Bagwell are to provide their versions

 of the offense to the probation officer by November 2, 2016;

       3.    The presentence report is to be disclosed to Bagwell,

 defense counsel, and the United States on or before January 6,

 2017;    however,    the   Probation   Officer     is   not   to   disclose   the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before January 20, 2017;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before January 27, 2017;

 and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual basis from the statements or motions, on or before January

 27, 2017.

      The magistrate judge continued Bagwell on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 6).

      The    Court   will   conduct    the   sentencing   hearing   for   the

 defendant on Tuesday, February 14, 2017 at 12:15 P.M. at the

 Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: October 26, 2016


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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